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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA and the
STATE OF GEORGIA,
       Plaintiffs,
                                                            Civil Action No.
                        v.
                                                           1:10-cv-04039-SDG
DEKALB COUNTY, GEORGIA,
       Defendant.

                                     ORDER

      This matter is before the Court on a sua sponte review of the docket. On

October 21, 2020, the United States of America filed a Notice of Lodging of

Modification to 2011 Consent Decree Subject to Public Comment [ECF 61].

The United States of America stated that the Department of Justice will publish in

the Federal Register a notice of the lodging of the proposed modification soliciting

public comments on the proposed modification for a period of not less than thirty

(30) days from the date of publication.
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      The parties are DIRECTED to file a third joint status report on or before

May 10, 2021 and indicate whether the Department of Justice has published the

notice in the Federal Register and the status of its review of comments, if any.

      SO ORDERED this the 13th day of April 2021.


                                                     Steven D. Grimberg
                                               United States District Court Judge
